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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                           MDL 2724
PRICING ANTITRUST LITIGATION                             16-MD-2724

                                                         HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                         PRETRIAL ORDER NO. 80
              (PROCEDURE FOR FILING OF AMENDED COMPLAINTS
            AND OTHER VOLUMINOUS DOCUMENTS FILED UNDER SEAL)

       AND NOW, this 22nd day of March 2019, to facilitate management of this complex and

document-intensive MDL, and to minimize the burdens and costs associated with printed copies

of voluminous documents, and as the documents will be maintained on the Electronic Case

Filing system, it is hereby ORDERED that the following procedures shall govern the filing of

amended complaints and other voluminous documents filed under seal in the MDL:

       1.      The documents may be filed with the Office of the Clerk of Court in electronic

format by submitting one CD for each document, with the document in PDF file(s). The size of

a PDF file must not exceed 20 MB. If necessary, the document shall be divided into smaller

PDF files on the same CD to comply with this requirement.

       2.      Each CD shall be accompanied by a cover letter setting forth the contents and

printed copies of the first page and the signature page of the document. Where sealed documents

are concerned, the cover letter must state whether the document is the unredacted (sealed) or

redacted (public) version. The unredacted (sealed) and redacted (public) versions shall be sent to

the Clerk’s Office together, but on separate CDs (each CD labeled with the document and

version).
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       3.       The filing parties are not required to file paper copies with the Clerk’s Office or to

submit paper courtesy copies to Chambers unless otherwise directed by the Court.

       4.       Plaintiffs filing amended complaints shall provide to Chambers and all other

parties in the MDL electronic versions of the amended complaints that show all amendments in

redline.

       5.       Documents shall be filed under seal only to the extent necessary consistent with

the Court’s prior Orders.

       6.       These procedures are implemented on a trial basis and are subject to amendment

by further order of the Court.

       It is so ORDERED.


                                                       BY THE COURT:

                                                       /s/ Cynthia M. Rufe
                                                       ____________________
                                                       CYNTHIA M. RUFE, J.




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